Case 8:21-cv-00555-SDM-CPT Document 140-47 Filed 06/06/22 Page 1 of 4 PageID 11214




                             EXHIBIT 47
    Declaration of Ari Bargil in Support of Plaintiffs’ Motion for Summary Judgment
                  on Liability and Incorporated Memorandum of Law
    Case 8:21-cv-00555-SDM-CPT Document 140-47 Filed 06/06/22 Page 2 of 4 PageID 11215

From: Werner
Sent: Tuesday, September 15, 2015 8:41 AM
To: PEREZ
Subject: Re: Fw: Re: Fw:Debriefing



Thanks! Once I've got the weekly slides finished and get a few things out of the way I'm going to do a workup on them at
Capt's request to consider for the next top 5.

Melinda Werner
Criminal Intelligence Analyst - District 3
Intelligence-led Policing Section
Pasco County Sheriff's Office
(727) 816-1593
mwerner@pascosheriff.org
                                            ( For Law Enforcement Use Only)

The information in this message is considered the property of the originating agency and should be used for Law
 Enforcement purposes only! If you believe that you have received this information in error, please contact the
                                 Pasco County Sheriff's Office at 727-847-5878.

Unless otherwise noted, the material contained in this document is considered part of active criminal intelligence
     and as such, are presently exempt from disclosure via the Florida Public Records Law (F.S.S. 119.07).



   Samuel Perez---09/15/2015 07:58:17 AM---Melinda, FYI from SRO Vedral regarding debriefing                          .

From: Samuel Perez/PSO
To: Melinda Werner/PSO@PSO
Date: 09/15/2015 07:58 AM
Subject: Fw: Re: Fw:Debriefing




Melinda,

FYI from SRO Vedral regarding debriefing                    .

Detective Samuel Perez
Law Enforcement Bureau
District 3 - Property Crimes Unit
Pasco Sheriff's Office
(727) 376 -6746-Office
(727) 277-7126-Cell
sperez@pascosheriff.org

A teacher is never the giver of truth, he is a guide, a pointer to the truth that each student must find for himself- Bruce Lee




-----Forwarded by Samuel Perez/PSO on 09/15/2015 07:57AM -----
To: Samuel Perez/PSO@PSO
                                                                                   Exhibit 47 - Page 1 of 3
                                                                                                            Defendant23827
       Case 8:21-cv-00555-SDM-CPT Document 140-47 Filed 06/06/22 Page 3 of 4 PageID 11216
From: William Vedral/PSO
Date: 09/10/2015 02:50PM
Cc: Stephen Frick/PSO@PSO, James Law/PSO@PSO
Subject: Re: Fw:Debriefing

Sam,

Here is all the 43 I have or could scrounge up on these names in your debriefing of             . Some are not Anclote
High School students but I have some 43 that may or may not be the people you are looking for. Hope this helps brother.

1.                         - Unknown if this is your guy but I found this guy. He was last listed as going to Gulf High School.
Dob              . Last listed address is                     , New Port Richey, FL 34652. He has arrests for auto theft and
thefts from auto.

2.                 - is identified in report # 15-32881 as "   "              ."       "              is actually
           , dob              and a student at Anclote High School.                          is aka "       ". Can you guess what
street he lives on? If you guessed Solar you would be right.                       , Holiday, FL 34691.

3.          -          is a former student at Anclote High School and is aka "   ". Dob               . Last listed address is
                         , Holiday, FL 34691. I believe     has active warrants.

4.                - I could not find anything on a                . I ran his name in the school districts TERMS system
and came up with a                   , Dob           , last known address                       , New Port Richey,
FL 34655. He went to J.W. Mitchell. Don't know if he is your guy though.

5. Donnie Mcdougall - Donnie is a student at Anclote High School and has many discipline issues, he engages in many
risky activities. I can see Donnie car hopping. Dob     /2000, 3229 Primrose Drive, Holiday, FL 34691

6.                 -           attends Anclote High School and also is engaged in risky activities including car hopping. Dob
            ,                    , Holiday, FL 34691

7.                - This should be your            . He is a student at Anclote High School. Dob               ,       Holiday
Lake Drive, Holiday, FL 34691.

8. "        " - I have nothing for you regarding           .

9. "      " - I have two     's at or that went to Anclote. One is                    , dob            ,     Edith Street,
New Port Richey, FL 34652. The second is                   , Dob               , he is listed only as Calamondin Drive,
Holiday, FL 34591. That is not to far from Viking / Yale Drive.

10."       " - I ran the name through the districts TERMS system. The only active student we have is                             ,
dob              ,      Pinafore Drive, New Port Richey, FL 34653. He attend the Athenian Academy of Pasco.                          is
almost 16 years old so this may be a good lead.

11. "         " - The major crimes tip could be                 , Dob            ,       Seffner Drive, Holiday, FL 34691.
He is a former student. He sells drugs (crack, marijuana, molly) and a gang member (2'sgang possibly 4's gang now). He
is also associated with                 (former student and 2's memeber) and                     (drug sales, firearm
possession) both are charged with attempted homicide.              frequents the Darlington Road area.            has
dreads.

Hope this helps

Cpl. Bill Vedral


-----James Law/PSO wrote: -----
To: William Vedral/PSO@pso, Stephen Frick/PSO@pso, Samuel Perez/PSO@pso, William Davis/PSO@pso, Chris
Thomas/PSO@pso
From: James Law/PSO
Date: 09/09/2015 09:29AM
Subject: Fw:Debriefing
                                                                                      Exhibit 47 - Page 2 of 3
                                                                                                              Defendant23828
   Case 8:21-cv-00555-SDM-CPT Document 140-47 Filed 06/06/22 Page 4 of 4 PageID 11217
Please review the outstanding information obtained by Detective Perez from                     and try to provide last names
and dobs for the multiple subjects that were believed to attend or are attending Anclote High.

Thank you,

Lt. Law

Sent from Lotus Traveler




Samuel Perez --- Debriefing                  ---

From:             "Samuel Perez" <SPerez@pascosheriff.org>
To                "James Law" <JLaw@pascosheriff.org>
Date:             Tue, Sep 8, 2015 4:16 PM
Subject           Debriefing


FYI

Detective Samuel Perez
Law Enforcement Bureau
District 3 - Property Crimes Unit
Pasco Sheriff's Office
(727) 376 -6746-Office




[attachment "debriefing.docx" removed by William Vedral/PSO]




                                                                                 Exhibit 47 - Page 3 of 3
                                                                                                         Defendant23829
